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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

  VALENTINA BONDARENKO,

                  Plaintiff,

  v.                                                CASE NO. 1:20-cv-00340

  SNOW & SAUERTEIG, LLP,

                  Defendant.


                               CLASS ACTION COMPLAINT

                                     I.          INTRODUCTION

  1. This is a class action brought by Plaintiff Valentina Bondarenko, individually and on
     behalf of all others similarly situated, for actual damages, statutory damages, costs of the
     action, a reasonable attorney’s fee and all other damages allowed by law from Defendant
     for violation of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et
     seq.

                                           II.    PLAINTIFF

  2. Plaintiff Valentina Bondarenko is a natural person residing in Ft. Wayne, Indiana.

                                          III.    DEFENDANT

  3. Defendant Snow & Sauerteig, LLP is a for-profit domestic limited liability partnership
     with its principal place of business in Fort Wayne, Indiana.

  4. At all times relevant herein, Defendant was operating as a debt collector as defined by 15
     U.S.C. § 1692a(6).

                               IV.         STATEMENT OF FACTS

  5. On July 7, 2020, Defendant filed a debt collection lawsuit, Cause No. 02D03-2007-SC-
     008537, against Ms. Bondarenko in Allen Superior Court over an allegedly unpaid debt
     incurred for legal services to Haller & Colvin P.C.

  6. A copy of the Notice of New Claim is attached hereto as Exhibit A.

  7. The legal services were provided to Leonard Easterly for personal, family or household
     purposes.
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  8. Ms. Bondarenko is not contractually or otherwise liable for the legal services provided to
     Leonard Easterly.

  9. The Notice of New Claim filed in Cause No. 02D03-2007-SC-008537 seeks payment of a
     “filing service fee” of $2.83.

                                 V.      CLAIMS FOR RELIEF

                              A. Fair Debt Collection Practices Act

  10. Plaintiff repeats, re-alleges and incorporates by reference paragraphs one through nine
      above.

  11. Defendant violated the Fair Debt Collection Practices Act. These violations include, but
      are not limited to:

         a. Attempting to collect a debt that Plaintiff does not owe, in violation of 15 U.S.C.
            § 1692d, § 1692e, § 1692e(2), § 1692e(10), § 1692f and § 1692f(1);

         b. Attempting to collect a “filing service fee” from Plaintiff that she does not owe, in
            violation of 15 U.S.C. § 1692f(1).

  12. As a result of the violation of the Fair Debt Collection Practices Act, Defendant is liable
      to Plaintiff for her actual damages, statutory damages, costs, attorney fees and all other
      appropriate relief.

                                       B. Class Allegations

  13. Plaintiff brings this action on behalf of herself and all persons similarly situated in the
      State of Indiana who were sued by Defendant (within one year of the filing of this
      complaint) with a Notice of New Claim, the claim is on account, in which a “filing
      service fee” is sought and no judgment has been entered in the case.

  14. Defendant regularly engages in debt collection and attempts to collect a “filing service
      fee” from other persons located in the State of Indiana.

  15. This lawsuit seeks a determination by the Court that the violation alleged in paragraph
      11(b) above is indeed a violation of the Fair Debt Collection Practices Act and for an
      award of damages as authorized by 15 U.S.C. § 1692k(a) for all similarly-situated
      persons.

  16. The class members are so numerous that joinder is impracticable. On information and
      belief, the proposed class consists of more than 35 persons.

  17. Plaintiff’s claims are typical of the proposed class. Common questions of law or fact
      raised by this class action complaint affect all members of the proposed class and
      predominate over any individual issues. Common relief is therefore sought on behalf of


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     all members of the class. This class action is superior to other available methods for the
     fair and efficient adjudication of this controversy.

  18. The prosecution of separate actions by individual members of the proposed class would
      create a risk of inconsistent or varying adjudications with respect to the individual
      members of the proposed class, and a risk that any adjudications with respect to
      individual members of the proposed class would, as a practical matter, either be
      dispositive of the interests of other members of the proposed class not a party to the
      adjudication, or substantially impair or impede their ability to protect their interests.

  19. Plaintiff will fairly and adequately protect and represent the proposed class. The
      management of the class action proposed is not extraordinarily difficult, and the factual
      and legal issues raised by this class action complaint will not require extended contact
      with the members of the proposed class because Defendant’s conduct was perpetrated on
      all members of the proposed class and will be established by common proof. Moreover,
      Plaintiff has retained counsel with extensive experience in the Fair Debt Collection
      Practices Act and class action litigation.

  WHEREFORE, Plaintiff respectfully requests that the Court grant the following relief:

     A. Certify the class of all persons in the State of Indiana who were sued by Defendant
        (within one year of the filing of this complaint) with a Notice of New Claim, the
        claim is on account, in which a filing service fee is sought and no judgment has been
        entered in the case;

     B. Appoint Plaintiff as Class Representative of the Class and her attorney as Class
        Counsel;

     C. Find that attempting to collect a “filing service fee” from a person who is not
        contractually responsible for it violates the FDCPA;

     D. Enter judgment in favor of Plaintiff and the Class and against Defendant for actual
        and statutory damages, costs and reasonable attorney’s fees as provided by 15 U.S.C.
        § 1692k(a);

     E. Award Plaintiff an incentive award for her participation as Class Representative; and

     F. All such additional relief as the Court deems appropriate and just.




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                                  For Plaintiff Valentina Bondarenko, individually,
                                  and all others similarly situated:

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